    Case: 1:22-cv-06990 Document #: 26 Filed: 06/09/23 Page 1 of 2 PageID #:206



                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

IN THE MATTER OF                                   )
                                                   )   No. 19 D 52
       Cass T. Casper                              )
                                                   )   (Before the Executive Committee)
                  An Attorney                      )

                                              ORDER

       Cass T. Casper was admitted to this Court’s General Bar on February 6, 2015 and Trial

Bar on February 12, 2018. Mr. Casper was previously disciplined on two separate occasions—on

January 17, 2020 and September 2, 2020—before the Court’s Executive Committee

(“Committee”) in case number 19 D 52.

       On March 21, 2023, the Illinois Supreme Court suspended Mr. Casper from the practice

of law for one (1) year, effective April 11, 2023, and until further order of the Court with the

suspension stayed after sixty (60) days by a two (2) year period of probation, subject to conditions.

       Mr. Casper gave the Committee notice of the March 21, 2023 Illinois Supreme Court Order

on March 27, 2023. In his letter, Mr. Casper notes that the suspension stems from events that

have already been before the Committee in case number 19 D 52. The Committee finds that the

April 6, 2023 Rule to Cause ordering Mr. Casper to respond within fourteen (14) days as to why

this Court should not impose further discipline in addition to the discipline already imposed by this

Court in case number 19 D 52 and by the Illinois Supreme Court in their March 21, 2023 order,

was sent to Mr. Casper by email; and that Mr. Casper responded to the Rule to Show Cause on

April 19, 2023.

       IT IS THEREFORE ORDERED that after reviewing Mr. Casper’s response, this

Committee suspends Mr. Casper from the practice of law for one (1) year, effective April 11, 2023,

and until further order of the Court with the suspension stayed after sixty (60) days by a two (2)

year period of probation, subject to conditions.




                                            Page 1 of 2
    Case: 1:22-cv-06990 Document #: 26 Filed: 06/09/23 Page 2 of 2 PageID #:207



       IT IS FURTHER ORDERED that within twenty-one (21) days of the docketing of this order,

Mr. Casper shall notify by certified mail, return receipt requested, all clients to whom Mr. Casper

is responsible for pending matters before this Court of the fact that the attorney cannot continue

to represent them.

       IT IS FURTHER ORDERED that within thirty-five (35) days of the entry of this order, Mr.

Casper shall email (ILNDAttorneyDiscipline@ilnd.uscourts.gov) to the Assistant to the Clerk of

the Court a declaration stating that the attorney has so notified any clients, and indicating the

address to which subsequent communications may be addressed; and shall keep and maintain

records evidencing compliance with this order so that proof of compliance will be available if

needed for any subsequent proceeding instituted by or against the attorney.

       IT IS FURTHER ORDERED that the Clerk of the Court shall post this Order on the docket

in every pending case which the attorney has filed an attorney appearance.

        IT IS FURTHER ORDERED that the Clerk of Court shall cause of copy of this Citation to

be emailed to Attorney Casper at ccasper@dispartilaw.com and his attorney Stephanie Stewart

at sstewart@rsmdlaw.com.

                                             ENTER:

                              FOR THE EXECUTIVE COMMITTEE



                         _____________________________________
                           Hon. Rebecca R. Pallmeyer, Chief Judge

Dated in Chicago, IL this 9th day of June, 2023




                                           Page 2 of 2
